                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA                        )
                                                )         DOCKET NO.
            V.                                  )
                                                )         FACTUAL BASIS
MARQUISIO TREVON PHILLIPS                       )


        NOW COMES the United States of America, by and through Dena J. King, United States
Attorney for the Western District of North Carolina, and hereby files this Factual Basis in support
of the plea agreement filed simultaneously in this matter.

        This Factual Basis is filed pursuant to Local Criminal Rule 11.2 and does not attempt to
set forth all of the facts known to the United States at this time. By their signatures below, the
parties expressly agree that there is a factual basis for the guilty plea(s) that the defendant will
tender pursuant to the plea agreement, and that the facts set forth in this Factual Basis are sufficient
to establish all of the elements of the crime(s). The parties agree not to object to or otherwise
contradict the facts set forth in this Factual Basis.

        Upon acceptance of the plea, the United States will submit to the Probation Office a
"Statement of Relevant Conduct" pursuant to Local Criminal Rule 32.4. The defendant may
submit (but is not required to submit) a response to the Government's "Statement of Relevant
Conduct" within seven days of its submission. The parties understand and agree that this Factual
Basis does not necessarily represent all conduct relevant to sentencing. The parties agree that they
have the right to object to facts set forth in the presentence report that are not contained in this
Factual Basis. Either party may present to the Court additional relevant facts that do not contradict
facts set forth in this Factual Basis.

        1.     On or about September 19, 2023, the defendant knowingly and intentionally
distributed approximately 12 pills containing a mixture and substance containing a detectable
amount of a fentanyl analogue, to another person in Gaston County, within the Western District of
North Carolina.

       2.       On or about October 3, 2023, the defendant knowingly and intentionally distributed
approximately 494 pills containing a mixture and substance containing a detectable amount of
fentanyl, to another person in Gaston County, within the Western District of North Carolina.

        3.     On or about October 11, 2023, the defendant knowingly and intentionally
distributed approximately 1,000 pills containing a mixture and substance containing a detectable
amount of fentanyl, to another person in Gaston County, within the Western District of North
Carolina.
        4.     On or about October 24, 2023 , the defendant knowingly and intentionally
distributed approximately 1,000 pills containing a mixture and substance containing a detectable
amount of fentanyl , to another person in Gaston County, within the Western District of North
Carolina.

        5.    On or about November 2, 2023, the defendant knowingly and intentionally
possessed with the intent to distribute a mixture and substance containing a detectable amount of
a fentanyl analogue, at his residence in Gaston County, within the Western District of North
Carolina.


DENAJ. KING
                ESATT



DANA 0. W ASHINGT
ASSISTANT UNITED STATES ATTORNEY

                     Defendant' s Counsel ' s Signature and Acknowledgment

         I have read this Factual Basis, the Bill ofindictment, and the plea agreement in this case,
and have discussed them with the defendant. Based on those discussions, I am satisfied that the
defendant understands the Factual Basis, the Bill of Indictment, and the plea agreement. I hereby
certify that the defendant does not dispute this Factual Basis.


                                                                     DATED: November 20, 2024
St&ensiawinski,AttorneyforDefe; t




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